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IN THE UNITED sTATEs DISTRICT coURT mann _q_____¢m
FOR THE wEsTERN DISTRICT OF TENNESSEE
wESTERN DIVISION minus 29 AH 62“3
THOAYE,M.GGULD
UNITED sTATES oF AMERICA amw'“‘msmmm

W/D OF TN. MEMPHS
Plaintiff,

Criminal No. 65 -0705115 Ml

60-Day Continuance)

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Defendant(s}.

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the Septemher
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28. 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

'¢ `a’lm¢m\ entered on the docket §h@€€ Hl ‘”* -~ -

-.:r,§ answer az(b) FH~:;¢P on j__mi/~_O{

Case 2:05-cr-20213-.]PI\/| Document 30 Filed 08/29/05 Page 2 of 3 Page|D 43

So oRDERED this 26ch day of August, 2005.

 

   

@ ma
ITED STATES DISTRICT JUDGE

PHIPPS MCCALLA
Assistant United States Attorney

 

 

 

 

   

UNITED sTATE DISTRIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-202]3 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

